Case 1:16-cr-00195-MSK Document 29 Filed 09/27/16 USDC Colorado Page 1 of 6




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

CASE NO. 16-cr-00195-MSK

UNITED STATES OF AMERICA,

              Plaintiff,

v.

RONNIE NATHANIEL KEYES,

           Defendant.
_____________________________________________________________________

  SUPPLEMENT TO UNOPPOSED MOTION TO CONTINUE TRIAL [DOC. NO. 22]
____________________________________________________________________

       Mr. Ronnie Keyes, by and through undersigned counsel, David E. Johnson,

hereby files this Supplement to Unopposed Motion to Continue Trial, Doc. No. 22,

hereby requesting an unopposed 60 day ends of justice continuance, and in support

thereof states as follows:

       1.     The Final Pretrial Conference in this case is set for September 29, 2016.

Trial is set to begin next week, on October 3, 2016.

       2.     On September 14, Mr. Keyes filed an Unopposed Motion to Continue

Trial, found at Docket Number 22. Mr. Keyes incorporates by reference herein the

contents of that filing. By this filing, Mr. Keyes supplements that Motion. Specifically,

Mr. Keyes updates the Court as to his medical condition, his ability to attend court, and

the efforts of undersigned counsel in this case. He requests an unopposed 60 day ends

of justice continuance, and requests that the currently set Final Pretrial Conference and

Trial dates be vacated.
Case 1:16-cr-00195-MSK Document 29 Filed 09/27/16 USDC Colorado Page 2 of 6




       3.     Since Mr. Keyes’ September 14 filing, additional filings have been made

updating the Court concerning Mr. Keyes’ medical condition. See Doc. Nos. 25, 26.

The factual contents of those filings are also incorporated herein by reference.

       4.     In the past two weeks, since Mr. Keyes has been at CCMF, undersigned

counsel has made repeated attempts to contact Mr. Keyes. He has spoken to Mr.

Keyes on the phone three times. Generally speaking, those calls concerned Mr. Keyes

medical condition, his prognosis, and contacts with his family members. Given his

current state, counsel did not discuss at length with Mr. Keyes his criminal case.

       5.     After repeated attempts at contacting Mr. Keyes last week, counsel was

not able to speak with Mr. Keyes; he finally was able to on the evening of Friday,

September 23. At that time, it was confirmed that Mr. Keyes did, in fact, undergo a foot

amputation in the prior week. Counsel also learned at that time that Mr. Keyes must

have another surgery – one to address the open sores on his back. Mr. Keyes was told

several of his open sores are not in a healthy condition.

       6.     Yesterday, on Monday September 26, counsel again was able to speak

with Mr. Keyes late in the day. He informed that he needs additional surgeries.

Specially, Mr. Keyes informed that he is expected to undergo an additional surgery

today (September 27), and that at least one additional surgery after that is likely.

       7.     During that phone call, counsel and his investigator were able to talk with

one of the doctors at CCMF. She confirmed that Mr. Keyes will be undergoing surgery

in the near future, specifically Debridement. She informed that the surgery would likely

occur today or tomorrow (September 27 or 28).

                                             2
Case 1:16-cr-00195-MSK Document 29 Filed 09/27/16 USDC Colorado Page 3 of 6




       8.     She advised that Mr. Keyes is bedridden, and he needs frequent position

changes – every two hours at minimum.

       9.     When queried about Mr. Keyes rehabilitation time period and process, she

explained it would be extensive. This includes rehabilitation from his recent amputation,

as well as the additional surgery or surgeries that will be performed. The exact extent of

Mr. Keyes medical condition, however, will be better known following the next planned

surgery. She did explain that the depths and condition of Mr. Keyes’ open

sores/wounds was not common.

       10.    When asked, the doctor stated, medically, Mr. Keyes would not be able to

attend the currently set court hearing this Thursday in person. Again, Mr. Keyes is

bedridden; he is currently unable to sit for an extended period of time. She also

explained that it would not be medically advisable for Mr. Keyes to be in a non-medical

detention facility due to his wounds.

       11.    As it relates to Mr. Keyes’ ability to visit with family, counsel’s office was

informed yesterday, at approximately 4:00 p.m. that the U.S. Marshals’ Office has

approved such visits. Visitation is allowed three days a week (Saturday through

Monday), during designated three hour time blocks, with visits allowed to last, at most,

one half hour, with at most two people at a time. Prior to being informed of that

approval, at Mr. Keyes’ request, counsel had spent additional time communicating with

Mr. Keyes’ family about his current condition, his prognosis, and the status of the

current case (including motions that were recently filed).



                                              3
Case 1:16-cr-00195-MSK Document 29 Filed 09/27/16 USDC Colorado Page 4 of 6




       12.    In essence, counsel has continued to work diligently in Mr. Keyes’ case.

Nevertheless, proceeding under the currently set dates would result in a miscarriage of

justice.

       13.    As of late in the day on Friday, September 23, counsel discussed the

status of Mr. Keyes’ case with Assistant United States Attorney, Mr. Garreth Winstead.

At that time, a 60 day ends of justice continuance was discussed, which both parties

thought was appropriate.

       14.    Finally, as counsel was drafting this Supplement, he received a

communication from the U.S. Marshals’ Office, explaining: “I do not believe we could

safely transport [Mr. Keyes] for the hearing [this Thursday] given his condition.” In a

subsequent communication, it was explained that doctors would “have to wait to see

how the [surgery] procedure [planned for today or tomorrow] went if he would safely be

able to be transported on Thursday.”

       WHEREFORE, based on the foregoing, this Court should vacate the currently set

Final Pretrial Conference and Trial dates, and issue a 60 day ends of justice

continuance in this case.

                                          Respectfully submitted,

                                          VIRGINIA L. GRADY
                                          Federal Public Defender


                                          s/David E. Johnson
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                                             4
Case 1:16-cr-00195-MSK Document 29 Filed 09/27/16 USDC Colorado Page 5 of 6




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                                     5
Case 1:16-cr-00195-MSK Document 29 Filed 09/27/16 USDC Colorado Page 6 of 6




                             CERTIFICATE OF SERVICE

      I hereby certify that on September 27, 2016, I electronically filed the foregoing

  SUPPLEMENT TO UNOPPOSED MOTION TO CONTINUE TRIAL [DOC. NO. 22]

with the Clerk of Court using the CM/ECF system which will send notification of such
filing to the following e-mail addresses:

      Edwin Garreth Winstead, III, Assistant U.S. Attorney
      Garreth.winstead@usdoj.gov

and I hereby certify that I have mailed or served the document or paper to the following
non CM/ECF participant in the manner (mail, hand-delivery, etc.) indicated by the non-
participant’s name:

      Ronnie Nathaniel Keyes (via U.S. Mail)




                                         s/David E. Johnson
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                                            6
